                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                      EASTERN-DUBUQUE DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )    No. CR 21-01016-CJW-MAR
                                            )
           vs.                              )
                                            )
DERRICK DARRYL TRAWICK,                     )
                                            )
                       Defendant.           )

                 GOVERNMENT’S TRIAL MEMORANDUM

    I.    PRE-TRIAL STATEMENT AS TO THE STATUS OF THE CASE

    (a)   This case is set for trial to a jury on January 24, 2022. Jury selection

          is scheduled before Magistrate Judge Roberts the morning of January

          24, 2022.

    (b)   The estimate of the probable duration of the trial is 3 to 4 days,

          including jury selection.

    (c)   The defendant is detained.

    (d)   An interpreter is not required in this matter.

    (e)   It is not proposed that a jury be waived.

    (f)   Joint Proposed Jury Instructions have been filed by the parties. The

          government has filed objections and responses regarding contested

          jury instructions.




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      (g)      The defendant is charged in one count: aiding and abetting the

               distribution of a controlled substance near a protected location

               resulting in serious bodily injury. The elements for these charges are

               as follows:

      Count 1:       Aiding and Abetting the Distribution of Controlled
                     Substances Near a Protected Location Resulting in
                     Serious Bodily Injury (21 U.S.C. §§ 841(a)(1), (b)(1)(C)),
                     860(a))

       In order to have aided and abetted the commission of a crime, a person must,
before or at the time the crime was committed:

      One,           have known the distribution of a controlled substance was being
                     committed or going to be committed;

      Two,           have had enough advance knowledge of the extent and character
                     of the crime of distribution of a controlled substance that he was
                     able to make the relevant choice to walk away from the crime
                     before all elements of the distribution of a controlled substance
                     were complete;

      Three,         have knowingly acted in some way for the purpose of causing,
                     encouraging, or aiding the commission of the distribution of a
                     controlled substance;

      Four,          have intended that the distribution of a controlled substance
                     occur.


      The crime of distribution of a controlled substance near a protected location

has three elements, which are:

      One,           on or about May 31, 2019, in the Northern District of Iowa, a
                     person intentionally transferred heroin and fentanyl to
                     another individual;

      Two,           at the time of the transfer, the person who made the transfer

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                     knew that the substance transferred was some controlled
                     substance; and

      Three,         the distribution of a controlled substance occurred within
                     1,000 feet of the real property comprising a playground,
                     specifically, Jefferson Park in Dubuque.

       As a sentencing factor, the government would have to prove beyond a
reasonable doubt that another person’s use of the heroin and/or fentanyl defendant
distributed resulted in serious bodily injury to that person. In this case, the
Indictment alleges the use of heroin and/or fentanyl, the distribution of which
defendant aided and abetted, resulted in serious bodily injury to M.M.

      (h)      Relevant Statutes

      Title 21, United States Code, Section 841(a)(1), provides:

      [I]t shall be unlawful for any person knowingly or intentionally to . . .
      distribute . . . or possess with intent to . . . distribute . . . a controlled
      substance.

      Title 21, United States Code, Section 841(b)(1)(C) provide for enhanced
penalties where “death or serious bodily injury results from the use of [the]
substance.”

     Title 21 of the United States Code, Section 860(a), provides
enhanced penalties for:

      Any person who violates section 841(a)(1) of [Title 21] . . . by
      distributing [or] possessing with intent to distribute . . . a controlled
      substance in or on, or within one thousand feet of, the real property
      comprising . . . a playground.


      II.      POTENTIAL EVIDENTIARY ISSUES

      a)       Expert Testimony – The United States will present expert testimony

in various forms in order to prove the elements of the offenses. First, the United

States will offer the testimony of one or more experienced drug agents to testify as


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an expert witness regarding drug trafficking generally. United States v. Gill, 513

F.3d 836, 847 (8th Cir. 2008) (“[A] district court has discretion to allow law

enforcement officials to testify as experts concerning the modus operandi of drug

dealers in areas concerning activities which are not something with which most

jurors are familiar.” (quotation omitted)). The agent(s) will testify regarding the

various methods of distributing, packaging, and concealing heroin, as well as prices

associated with various quantities of heroin in the Dubuque, Iowa, area, and the

effects of heroin use on a person.

      Proper testimony in this area includes testimony about the forms, sources,

prices, and dosage units of various drugs. See United States v. Martin, 869 F.2d

1118, 1121 (8th Cir. 1989). The United States anticipates calling one of its fact

witnesses involved in the investigation as the drug expert. In order to avoid any

issues with “dual role” expert/lay testimony by the drug expert officer, the United

States proposes that the witness’s testimony be bifurcated, and that he testify twice

during the government’s case-in-chief. See United States v. Moralez, 808 F.3d 362

(8th Cir. 2015) (discussing “dual-role” testimony, where a case agent testifies both

as an expert and a fact witness and discussing safeguards to avoid potential

prejudice from dual-role testimony, such as bifurcation of testimony, using clear

transitions during questioning, or giving jury instructions regarding expert

testimony).




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      Second, the United States will offer the testimony of Dr. Joshua Pruitt, a

board-certified emergency medicine physician and medical examiner. Dr. Pruitt

will testify regarding the cause and extent of injuries to M.M. Specifically, Dr.

Pruitt will testify that the injuries to M.M. were the result of the use of an opiate.

Additionally, Dr. Pruitt will testify that the nature of the injuries (such as the lack

of consciousness, a slowed or nonexistent pulse, and severely slowed or nonexistent

breathing) indicated that M.M. had a substantial risk of anoxic brain injury and

death without medical intervention.

      Finally, as discussed in the pretrial motion briefing and at the final pretrial

hearing, the United States will offer the testimony of a specially trained Special

Agent with the FBI, Nathan Houpt. Special Agent Houpt will testify about the

approximate locations of defendant’s phone and M.M.’s phones during the early

morning hours of May 31, as determined by historical cell site information provided

by the service providers for the two devices.

      b)     Testimony of First Responders and Medical Personnel -- The

United States will offer the testimony of treating medical personnel, including

responding law enforcement officers and a paramedic concerning their observations

of M.M. and her condition at the time they arrived.

      c)     Playground and School Location.           The United States will offer a

map created by the Dubuque GIS showing the proximity of the location of the drug




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distribution to Jefferson Park, as alleged in the Indictment. The United States

also will offer photographs of the playground.

      d)        Prior Convictions - If defendant testifies at trial, the United States

intends to introduce evidence of two of defendant’s prior convictions for

impeachment purposes pursuant to Fed. R. Evid. 609(a). Defendant has three

prior qualifying felony convictions: one in 2018 for domestic abuse assault causing

bodily injury and two convictions in 2021 for assault with intent to commit sexual

abuse. If defendant testifies, the United States would seek to impeach him with

his prior felony convictions (Rule 609(a)(1)).

      e)        Laboratory Reports.      The United States will offer a laboratory

report compiled from the testing of drugs and other items seized by law enforcement

from the residence where the overdose occurred, as well as from the search of

defendant’s residence. The United States will introduce these reports pursuant to

Federal Rule of Evidence 803(6) as records of regularly conducted activity. See

United States v. Baker, 855 F.2d 1353, 1359-60 (8th Cir. 1988). The United States

anticipates calling a criminalist with the Iowa DCI Laboratory to testify regarding

his findings.

      Additionally, the United States will offer a report of testing of M.M.’s blood

done by a chemist for FBI who now works for the Food and Drug Administration.

The United States will call the chemist to testify regarding his findings.




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          f)     Recordings.   The United States will offer at least one audio

recording of admissions made by defendant during a post-Miranda interview. The

United States does not intend to offer or play the entire recording. An edited

version of the video recording will be provided to the defense and court prior to the

trial.

          Additionally, Dubuque Police Officers at the overdose scene were equipped

with body cameras. The United States will offer a portion of at least one video

from the overdose scene, which will be shortened to the time frame in which M.M. is

present in the room. The United States will provide advance copies of the proposed

exhibit to defendant and the Court prior to trial.

          III.   PRE-TRIAL OPENING STATEMENT

          During at least 2019, defendant sold heroin in the Dubuque, Iowa, area. His

customers included, among others, individuals with the initials J.I., M.M., and C.M.

Defendant’s customers would communicate with defendant through his cell phone

or Facebook account.

          In the early morning hours of May 31, 2019, M.M. and C.M. communicated

with defendant by cellular telephone to arrange to purchase heroin from him.

They contacted defendant by calling and texting him at phone number with the last

four digits of 8334. A total of five phone calls and four text messages were

exchanged between M.M.’s phone and defendant’s phone between approximately

12:57 a.m. and 1:40 a.m. on May 31, 2019.


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      As instructed by defendant, M.M. and C.M. drove to a gas station on 14th and

Central in Dubuque. Defendant drove a vehicle to the gas station and was

accompanied by another individual. While at the gas station, M.M. briefly entered

defendant’s vehicle, at which time defendant instructed M.M. to follow him to the

area of Walnut Street and to park around the corner from his residence.

Defendant then drove to his residence on Walnut Street and M.M. followed him

there in M.M.’s vehicle. After they arrived in the area of defendant’s residence,

defendant and the other individual in his vehicle went inside the residence, while

M.M. and C.M. parked around the corner as directed. Defendant’s residence on

Walnut Street was approximately 100 feet from Jefferson Park, and the location

where M.M. and C.M. parked was on the street immediately adjacent to the park.

Shortly after defendant and the other individual went inside defendant’s residence,

the other individual exited the residence, walked to M.M.’s vehicle, and handed her

a package containing purported heroin in exchange for approximately $38.1

      After the drug transaction, M.M. and C.M. then drove to the Glenwood Motel

in Dubuque. As soon as they arrived at the motel, M.M. and C.M. prepared the

purported heroin for injection. They left some of the purported heroin in lines on a

television stand for two friends of theirs, A.M. and D.F. M.M. injected the

purported heroin that she had obtained during the transaction with defendant and


1 The typical price defendant charged for a baggie of heroin was $40. On May 31,
2019, C.M. and M.M. were not able to acquire a full $40, so they gave defendant’s
associate the approximately $38, hoping that he would not notice.

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his associate and almost immediately suffered an overdose during which she

stopped breathing. C.M. instructed A.M. to call 911, and C.M. attempted to

administer naloxone to reverse the overdose. C.M. attempted to administer

naloxone multiple times, but struggled with the needles and was only able to get a

portion of the naloxone injected into M.M.

      Emergency responders arrived on the scene and found M.M. unresponsive,

eyes open, and not breathing. Her skin was turning pale. While an officer

prepared an AED, a paramedic arrived on scene and began CPR. Shortly after the

paramedic started the first round of chest compressions on M.M., she suddenly

started breathing and sat up. Testimony will establish that, without medical

intervention (including the use of naloxone), M.M. had a substantial risk of death

due to the use of opioids.

      After M.M. was revived, law enforcement conducted an investigation into the

source of the drugs, which included a search of M.M.’s phone contacts from

immediately prior to the overdose. Those contacts included both text message and

voice contacts with defendant’s phone number (ending in 8334) in which M.M.

arranged to meet with defendant. They also obtained video from Dubuque traffic

cameras which traced defendant and his associate from defendant’s residence, to

the gas station, and back to his residence. They also observed and captured traffic

camera video of M.M.’s vehicle driving to the gas station, following defendant’s

vehicle to defendant’s residence, and to the area of the motel, as described above.


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      Testing of the powder found on the television stand in the motel room

determined that it contained heroin and fentanyl. M.M. was transported to the

hospital, where a blood sample was taken. After M.M. was released from the

hospital, investigators obtained the remaining portion of the blood sample from the

hospital and sent it for analysis by the FBI. Testing of that blood determined that

it contained metabolites of heroin, fentanyl, and methamphetamine.

      Based on the traffic camera videos showing that M.M. had met with

defendant within approximately 30 minutes of the 911 call, investigators obtained a

search warrant for the Walnut Street residence. During the search of the

residence, officers located and seized several drug-distribution related items,

including plastic baggies missing corners, gloves, and digital scales. Investigators

also located and collected a powder substance on a living room table that later

tested positive for methamphetamine, heroin, and fentanyl. Investigators also

seized 33 pills that appeared to be ecstasy (which were determined to contain

methamphetamine), multiple baggies of marijuana, and approximately 2.65 grams

of powder cocaine.

      During the search investigators also seized two phones: an iPhone and a ZTE

phone. Defendant claimed the iPhone was his but denied that the ZTE phone was

his. An investigator scrolled through the iPhone and noted several messages

consistent with drug dealing and other messages in which the user of the phone

(presumably defendant) indicated that he had a new number—the number ending


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in 8334 that had been contacted by M.M.2 Investigators later obtained a search

warrant for the ZTE phone and performed a download of that phone. The

download confirmed that the number for the phone was the number ending in 8334.

Review of the downloaded text messages and picture messages showed dozens of

photographs and text messages consistent with defendant being the user of the

phone and consistent with him selling drugs. Investigators also obtained call

detail and cell tower records from the service providers for defendant’s ZTE phone

and M.M.’s phone. The call detail records confirmed the contacts between the

phones during the early hours of May 31. The cell tower records demonstrate that

the calls placed by M.M. and defendant during the early morning hours were routed

through towers that were consistent with their locations as described by M.M. and

C.M., and as shown by the traffic cameras.

                                                        Respectfully submitted,

           CERTIFICATE OF SERVICE                       SEAN R. BERRY
                                                        United States Attorney
    I hereby certify that on January 17, 2022, I
    electronically filed the foregoing with the
    Clerk of Court using the ECF system which           By, s/Dan Chatham
    will send notification of such filing to the
    parties or attorneys of record.
                                                        DAN CHATHAM
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2 Because investigators did not have the passcode for the iPhone, a download of the
phone was not possible. The investigator documented the messages in the iPhone
by taking a video recording while he was scrolling through messages on the phone.

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